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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA    |P
                                      AUxaodri, Division                    If- ^ .?^ ,^
James Herman Raynor,                             )                          .   i                      j"
        Plaintiff;                               )                         \ CLt:ft£«J*""~''r-irc[;L »
                                                 )                                                ^A
v-                                               )                  l:13cvlll7(LMB/JFA)
                                                 )
G. Pugh,                                         )
      Defendant.                                 )

                                  MEMORANDUM OPINION

        James Herman Raynor, a Virginia inmate proceeding pro se, has filed a civil rights action
pursuant to 42 U.S.C. § 1983. In his initial complaint, plaintiff alleged that defendants Pugh,
Housing Unit Manager at Sussex II State Prison ("Sussex"); Harold W. Clarke, director ofthe
Virginia Department ofCorrections ("VDOC"); and Marie Vargo, warden ofSussex, were
violating his right to be free ofendangerment, and were denying him adequate medical care in
violation ofthe Eighth Amendment. See Complaint ("Compl.") 1-3 [Dkt. No. 1]. On January
10, 2014, the Court dismissed plaintiffs claims against Clarke and Vargo, pursuant to 28 U.S.C.
§ 1915A(b)(1), for failure to state aclaim. See Mem. Op. &Order 3-4 [Dkt. No. 14]. The Court
also dismissed plaintiffs denial ofmedical care claim, pursuant to § 1915A(b)(l). See id. 4-5.
       Pugh, the remaining defendant, was allowed sixty (60) days within which to file dispositive
motions. On March 13, 2014, Pugh filed an answer to plaintiffs complaint, as well as a motion
for summary judgment, pursuant to Fed. R. Civ. P. 56, a memorandum of law and affidavits to

support his motion for summary judgment, and the Notice required by Local Rule 7(K). See Dkt.
Nos. 21,22, and 23. Plaintiff was given the opportunity to file responsive materials pursuant to
Roseboro v. Garrison. 528 F.2d 309 (4th Cir. 1975). Defendant also filed a motion for a

protective order, which the Court granted by Order dated March 20,2014. See Dkt. No. 33.

Plaintiffresponded by filing numerous pleadings, including a "Motion to Dismiss Defendant's
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Motion for Summary Judgment" and accompanying affidavit [Dkt. Nos. 36,37], a "Motion to
Dismiss Defendant's Motion for a Protective Order" [Dkt. No. 38], a "Motion toShow Cause for a
Preliminary Injunction and aTemporary Restraining Order" and accompanying affidavit [Dkt.
Nos. 39,40], and a"Motion and Memorandum in Support for Summary Judgment" [Dkt. No. 42].'
Plaintiffhas also submitted a "Formal Request/Motion for Legal Copies" [Dkt No. 41], a "Motion
to File Criminal Complaint" [Dk. No. 45], a "Motion to File Declaration for Entry ofDefault"
[Dkt. no. 47], a "Motion to Submit Affidavit in Support ofMotion for Declaration ofEntry of
Default" [Dkt. No. 48], a "Motion for Appointment ofCounsel," [Dkt. No. 51], and a "Motion for
a Professional Examination ofPlaintiffs Spine Injury by a Back Specialist" [Dkt. No. 52]. For
the reasons that follow, defendant's motion for summary judgment will begranted, plaintiffs
motion to deny summary judgment will be denied, and plaintiffs remaining outstanding motions
will be denied as moot.

                                           I. Background

        Thefollowing material facts are uncontested. Plaintiff, an inmate at Sussex, hasa number
of medical ailments, including seizures, "blood issues," "heartissues," and "breath issues," which
had reached the point where he needed the help ofan inmate caretaker. Pugh Aff. fflf 1,4;
Handwritten Compl. Fact (3). Plaintiff was housed in Unit 1B-11 of Housing Unit #1 in Sussex,
with cellmate K. Mullins; however, he had requesteda move to a new cell in order to be housed

with an inmate caretaker. Pugh Aff. 14; Handwritten Compl. Fact (3). Inresponse to plaintiffs
request, Pugh spoke with plaintiffand Mullins on January 10,2013, and told Mullinsto move to a

unit on the upper tier of Housing Unit #1. PughAff. f 5; Handwritten Compl. Fact (4). Pugh

explained that he asked Mullins, rather than plaintiff, to relocate, because plaintiff had trouble


   1Although captioned as a "Motion for Summary Judgment," plaintiff responds to factual
allegations made in defendant's initial motion for summary judgment, and provides reasons why
the Court should deny defendant's motion. Thus, the "motion" is properly construed as one of
several responses to defendant's motion for summary judgment.
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walking, such that "assignment to acell on the top tier was not suitable for" him. Pugh Aff. ^ 5.
        After speaking with Pugh, plaintiffand Mullins returned to their cell. Soon after, Mullins
punched plaintiffin the face and broke his television set. Pugh. Aff. fl 6; Handwritten Compl.
Fact (5). Plaintiffalleges that during the fight Mullins "busted [his] lip and knocked [three] teeth
lose [sic]," and that "the hits made [him] hit the floor on my spine and tail bone." Handwritten
Compl. Fact (5); see also Moore Aff. f 3. Plaintiff went to medical after the incident, see Moore
Aff. U4, and also filed an informal complaint on January 23,2013, see Pugh Aff. 17. Pugh avers
that he moved Mullins based on plaintiffs request for a cell change, that he "had no reason to
believe that there would be any conflict over Mullins' move to another cell," and that plaintiff
never informed him ofany conflict with Mullins. Id. f| 6-8. As a result ofthe fight Mullins was
sentenced to fifteen days in segregation. Id. f7.

        Medical records attached to defendant's Motion for Summary Judgment show that, after
Mullins' assault, plaintiff had "mild abrasions on face and cheeks," but was not bleeding and was
not in "acute distress." Moore Aff. End. A. Plaintiff asserts that, to the contrary, "his blood
pressure was high, 126/100," and he told the nurse on duty that his back hurt as a result of falling
on the floor." Aff. to Mot. to Dismiss Def.'s Mot. for Summ. J. ("PL's Aff.") [Dkt. No. 37], at2.
Plaintiff does not provide any evidence, other than his own affidavit, to support his allegations
about his physical condition.

       To survive a motion for summary judgment, thenonmoving party "must set forth specific
facts showing that there is a genuine issue for trial." Anderson v. Liberty Lobby. Inc.. 477 U.S.

242,256 (1986). Allegations and statements made in affidavits are insufficient to create a

genuineissue of material fact. Id. Because plaintiffhas not submittedany definitive evidenceof

high blood pressure or back pain as a result of the assault, the fact that plaintiff had only "mild

abrasions" remains undisputed.

       The following facts are in dispute. The parties disagree about the defendant's motivation

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in not breaking up the fight between plaintiff and Mullins. Plaintiff, supported by an affidavit
from another inmate, claims that, on January 10,2013, Pugh stood outside the unit doors, watching
the fight between Mullins and plaintiff, "smileing [sic] with a two way radio in his hand." Formal
Request/Mot. for Legal Copies Ex. D-1 (Jackson Aff.) [Dkt. No 41 ], at 1. Defendant states that,
pursuant to VDOC operating polices, he "is not permitted to enter any area alone during an
incident between offenders." Pugh Aff. \ 6.

        Plaintiffalso asserts that, during the assault, he suffered a severe injury to his spinal cord.
PL's Aff., at 1. That claim is not supported by any evidence other than plaintiffs own allegation,
and is contradicted by the evidence in defendant's motion. See Moore Aff. J4. Plaintiff
supports his allegation with records ofspinal x-rays from 2005 through 2013, which he alleges
show the worsening progression ofhis spinal injuries. See Aff. for Prelim. Inj. &T.R.O.
("Prelim. Inj.") Ex. 1-B [Dkt. No. 40].

                                      II. Standard of Review

       Summary judgment "shall berendered forthwith if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, ifany, show that there is no
genuine issue as to any material fact and that the moving party is entitled to judgment as amatter of
law." Fed. R. Civ. P. 56. The moving party bears the burden ofproving that judgment on the
pleadings is appropriate. See Celotex Corp. v. Catrett. 477 U.S. 317, 323 (1986) (moving party
bears the burden ofpersuasion on all relevant issues). To meet that burden, the moving party
must demonstrate that no genuine issues of material fact are present for resolution. Id. at 322.
Once a moving party has metits burden to show that it is entitled tojudgment as a matter of law,
the burden then shifts to the nonmoving party to point out the specific facts which create disputed
factual issues. Anderson v. Liberty Lobby. Inc.. 477 U.S. 242,248 (1986); Matsushita Electrical
Industrial Co. v. Zenith Radio Corp.. 475 U.S. 574, 587 (1986). In evaluating a motion for
summary judgment, a district court should considerthe evidence in the light most favorable to the

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nonmoving party and draw all reasonable inferences from those facts in favor ofthat party.
United States v. Diebold, Inc., 369 U.S. 654,655 (1962). Those facts which the moving party
bears the burden of proving are facts which are material. "[T]he substantive law will identify
which facts are material. Only disputes over facts which might affect the outcome ofthe suit
under the governing law will properly preclude the entry ofsummary judgment." Anderson. 477
U.S. at 248. An issue ofmaterial fact is genuine when, "the evidence ... create[s] [a] fair doubt;
wholly speculative assertions will not suffice." Ross v. Communications Satellite Corp.. 759
F.2d 355, 364 (4th Cir. 1985). Thus, summary judgment is appropriate only where no material
facts are genuinely disputed and the evidence asa whole could not lead a rational fact finder torule
for the nonmovingparty. Matsushita. 475 U.S. at 587.

        As stated above, the nonmoving party may not defeat aproperly-supported summary
judgment motion by simply substituting the "conclusory allegations ofthe complaint or answer
with conclusory allegations ofan affidavit." Luian v. Naf1Wildlife Fed'n. 497 U.S. 871, 888
(1990). Even where the nonmoving party in such a situation is a pro se prisoner entitled to
liberal construction ofhis pleadings, a "declaration under oath ... is not enough to defeat a
motion for summary judgment. [The plaintiff] has to provide a basis for his statement. To
hold otherwise would render motions for summary judgment a nullity." Campbell-El v. Dist. of
Columbia. 874 F.Supp. 403,406 - 07 (D.D.C. 1994).

                                               III. Analysis

       Summary judgment in favor ofdefendant Pugh is appropriate because the pleadings,
affidavits, and exhibits on file demonstrate that Pugh did not endanger plaintiff in violation of the
Eighth Amendment. The Eighth Amendment's prohibition of cruel and unusual punishment
imposesa duty on prison officials "to protect prisoners from violence at the hands of other

prisoners." Farmer v. Brennan. 511 U.S. 825, 833 (1994). Prisonofficials violate an inmate's

Eighth Amendment right to be free from physical harm inflicted byother inmates when they are
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 deliberately indifferent to "specific known risks ofsuch harm." Presslv v. Hutto. 816 F.2d 977,
 979 (4th Cir. 1987) (citing Davis v. Zahradnick. 600 F.2d 458,460 (4th Cir. 1979)). Mere
negligence by prison officials, however, does not amount to aviolation ofan inmate's Eighth
Amendment right to be protected from the attacks offellow inmates. See, e^ Rueflv v. Landon.
825 F.2d 792 (4th Cir. 1987) ("Mere negligent conduct on the part ofprison officials who fail to
protect a prisoner from a risk ofharm posed byfellow inmates does notconstitute a violation ofthe
[Ejighth [Amendment's prohibition against cruel and unusual punishment.")
        To state acognizable Eighth Amendment claim for endangerment or failure to protect,
plaintiffmust allege facts sufficient to satisfy a two-pronged test. First, he must show that he
suffered "serious orsignificant physical oremotional injury" as a result ofdefendant's actions.
De'Lonta v.Angelone, 330 F.3d 630, 634 (4th Cir. 2003). Second, he must show that the
defendant acted with a "sufficiently culpable state ofmind." Farmer v. Brennan. 511 U.S. 825,
834 (1994) (internal quotation marks omitted); see also Odom v. S.C. Dep't of Corr.. 349 F.3d
765, 770 (4th Cir. 2003).

        "Only extreme deprivations are adequate to satisfy the objective component" ofthe first
prong ofthe test. See De'Lonta. 330 F.3d at 634. To satisfy the second prong, the plaintiffmust
show that the defendant exhibited "deliberate indifference to the inmate's health orsafety. See
Farmer, 511 U.S. at 834. Aprison official shows deliberate indifference only ifhe "knows ofand
disregards an excessive riskto inmate health or safety." Id at 837.

        Summary judgment is appropriate here because plaintiffcannot meet his burden of
showing that there isa genuine issue of material fact on either prong ofthe endangerment test.
First, plaintiff has not sufficiently established a factual dispute as to whether he suffered a
significant injury. Plaintiff has submitted six x-ray reports, dating from 2005 (before the fight at
issue in the instant action) through 2013 (after the fight). See Prelim. Inj. Ex. 1-B. Plaintiff
maintains that these exhibits "show the Court [that] plaintiffsspine was infact injured severely on
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1-10-13," PL's Aff. at 1; however, plaintiffhas purported to interpret these medical records
himself, writing conclusions such as "normal x-ray" and "injuries noted" onthe documents. See
Prelim. Inj. at 1, 6. There is no evidence that plaintiffhas any medical training, and thus there is
no evidence that plaintiffcan properly interpret what medical conclusions canbe reached from
these x-rays.

        To defeat summary judgment, the plaintiffmust provide evidence ofa "genuine" issue of
material fact-that is, evidence "such that a reasonable jury could return a verdict for the
nonmoving party." Anderson. 477 U.S. at 248. In other words, "sufficient evidence supporting
the claimed factual dispute [must] be shown to require ajury or judge to resolve the parties'
differing versions of thetruthat trial." First Nat'l Bank of Arizona v. Cities Service Co.. 391 U.S.
253,289(1968). As presented, plaintiffs exhibits do not provide sufficient evidence by which a
judge or jury could interpret his medical records attrial. To properly interpret these records, the
trierof fact would require expert testimony by a medical official. Plaintiffs ownassertions of
what the x-ray records show could not assist a trier offact in coming to a conclusion during trial,
andaretherefore notenough to withstand summary judgment. Plaintiffhas thus failed to meet his
burden of defeating summary judgment on prong one.

       Even ifplaintiff could meet his burden ofdefeating summary judgment on the first prong
of the endangerment test, however, he cannot meet his burden on the second prong. To show
deliberate indifference, the plaintiff must show that the defendant knew that leaving Mullins and
plaintiffalone presented a significant risk to plaintiffshealth or safety, and must show thatthe
defendant disregarded the risk. There is nothing in plaintiffs evidentiary submissions to show
that Pugh knew that Mullins posed a risk to plaintiffs health or safety. In fact, Pugh stated that
the plaintiff had never mentioned having any problems with Mullins, and that the two men "got
along well." See Pugh Aff. f 6. Plaintiffs responsive affidavit, in which another inmate stated

thatPugh watched Mullins injure plaintiffwithout intervening, establishes, at most, negligence by
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Pugh. Pugh, knowing that the two men did not have any prior history ofproblems, did not act
with deliberate indifference to plaintiffs health or safety by failing to break up the fight. Without
ahistory ofserious injury, Pugh would have no reason to think that plaintiffs safety was in danger.
Thus, plaintiffhas shown, at most, negligence on the defendant's part. Ashowing of negligence
is not sufficient to state a claim for endangerment under the Eighth Amendment.
                                          IV. Conclusion

       For the foregoing reasons, defendant's Motion for Summary Judgment will be granted, and
plaintiffs Motion to Dismiss Defendant's Motion for Summary Judgment will be denied. This
disposition renders moot all ofplaintiffs remaining motions. An appropriate Judgment and
Order shall issue.




Entered this    V      day of PJ(r)'U^n\Aj<\r                  2014.




Alexandria, Virginia
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                                                           Leonie M- Brinkema
                                                                                  ^26
                                                           United States District Judge
